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                                       7   BRAHMA GROUP, INC.
                                       8

                                       9                            UNITED STATES DISTRICT COURT

                                      10                                    DISTRICT OF NEVADA

                                      11   BRAHMA GROUP, INC., a Nevada               CASE NO.: 2:18-CV-01747-RFB-EJY
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                                           corporation,
                                      12
    HENDERSON, NEVADA 89074




                                                               Plaintiff,
        PEEL BRIMLEY LLP




                                      13   vs.
                                      14                                              STIPULATION AND ORDER TO EXTEND
                                           TONOPAH SOLAR ENERGY, LLC, a               DEADLINE TO REPLY TO OPPOSITIONS
                                      15
                                           Delaware limited liability company; DOES   TO BRAHMA GROUP, INC.’S MOTION
                                           I through X; and ROE CORPORATIONS I        TO LIFT STAY, SUBSTITUTE THE
                                      16
                                           through X,                                 REORGANIZED TSE LLC, JOIN COBRA
                                                                                      AND AHAC, AND REMAND TO STATE
                                      17
                                                               Defendants.            COURT (ECF NO. 87)

                                      18   TONOPAH SOLAR ENERGY, LLC a                (SECOND REQUEST)
                                           Delaware limited liability company; DOES
                                      19   I through X; and ROE CORPORATIONS I
                                           through X,
                                      20
                                                               Counterclaimant,
                                      21
                                           vs.
                                      22
                                           BRAHMA GROUP, INC., a Nevada
                                      23   corporation

                                      24                       Counter-Defendant.

                                      25
                                                 Plaintiff, BRAHMA GROUP, INC. (“Brahma’), Defendant/Counterclaimant Tonopah
                                      26
                                           Solar Energy, LLC (“TSE”), and non-parties COBRA THERMOSOLAR PLANTS, INC. and
                                      27
                                           AMERICAN HOME ASSURANCE COMPANY (collectively, “Cobra”) hereby stipulate and
                                      28
                                           Case 2:18-cv-01747-RFB-EJY Document 98 Filed 11/10/21 Page 2 of 2



                                       1   agree to extend the deadline for Brahma to Reply to the Oppositions of TSE (ECF 96) and Cobra

                                       2   (ECF 94) to Brahma’s Motion to Lift Stay, Substitute the Reorganized TSE LLC, Join Cobra and

                                       3   AHAC, and Remand to State Court (“Motion”) (ECF No. 87) from November 15, 2021 to

                                       4   November 22, 2021. Brahma filed the Motion on September 10, 2021 and TSE and Cobra filed

                                       5   their Oppositions on October 25, 2021. This is the second stipulation applicable to Brahma’s Reply.

                                       6          The parties and non-parties submit that good cause exists for the extension given the number

                                       7   and complexity of the issues raised in the Motion and the Oppositions as well as counsel’s

                                       8   respective obligations in this and other matters. The parties and non-parties further submit that the

                                       9   extension is in good faith and not for the purposes of delay.

                                      10          IT IS SO STIPULATED AND AGREED this 9th day of November, 2021.

                                      11   PEEL BRIMLEY LLP                                   W&D LAW, LLP
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                                      12
    HENDERSON, NEVADA 89074




                                           /s/ Eric B. Zimbelman                              /s/ Geoffrey Crisp
        PEEL BRIMLEY LLP




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                                      15
                                           Telephone: (702) 990-7272                          Attorneys for Non-Parties Cobra
                                      16   Attorneys for Plaintiff                            Thermosolar Plants, Inc. And American
                                           Brahma Group, Inc.                                 Home Assurance Company
                                      17   WEINBERG, WHEELER, HUDGINS,
                                           GUNN & DIAL, LLC
                                      18
                                           /s/ Colby Balkenbush
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                                      22   Attorneys for Defendant/Counterclaimant
                                           Tonopah Solar Energy, LLC
                                      23
                                                                                       ORDER
                                      24
                                                                              10th day of November, 2021.
                                                  IT IS SO ORDERED this this _____
                                      25

                                      26
                                      27                                             ____________________________________________
                                                                                     RICHARD F. BOULWARE, II
                                      28                                             United States District Judge


                                                                                        Page 2 of 2
